
PER CURIAM.
h Denied. ■ With respect to relator’s claims of ineffective assistance of counsel and an erroneous jury instruction, the application was not timely filed in the district court, and relator fails to carry his burden to show that an exception applies. La. C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189. Moreover, these claims are repetitive. La. C.Cr.P; art. 930.4(D).. As to the remaining claims, even assuming they are cognizable on collateral review, relator does not satisfy his post-conviction burden of proof. La. C.Cr.P. art. 930.2; State v. Conway, 01-2808 (La.4/12/02); 816 So.2d 290.
Relator has now fully litigated two applications for post-conviction relief in state court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the filing of a second or successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La, Acts 251 amended La.C,Cr.P. art. 930.4 to make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in state collateral proceedings in accord with La.C,Cr.P. art. • 930.6, and |2this' denial is final. Hereafter, unless he can show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral review. The District Court is ordered to record a minute entry consistent with this per- curiam.
HUGHES, J., would grant the writ.
